                     IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI

EMILY DACK, et al., individually and on behalf
of others similarly situated,
                                                 No. 4:20-cv-00615-RK
  Plaintiffs,

  vs.

VOLKSWAGEN GROUP OF AMERICA, INC.,
a New Jersey corporation, a/k/a VOLKSWAGEN
OF AMERICA, INC; and VOLKSWAGEN, AG,
a/k/a VOLKSWAGEN GROUP, a foreign
corporation,

  Defendants.




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  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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  I.   INTRODUCTION

        Plaintiffs respectfully request that the Court issue an order (i) granting final approval to

the Settlement set forth in the Settlement Agreement (the “SA”); (ii) certifying a class for

settlement purposes only; and (iii) entering a final judgment dismissing the case with prejudice.

Defendant does not oppose this requested relief. The SA was preliminarily approved on January

17, 2024, after having been negotiated at arms’ length. As discussed below, the terms of the SA

create substantial benefits for current and former purchasers and lessees of the Settlement Class

Vehicles, are fair, reasonable, and adequate, and meet all of the requisite criteria under Fed. R.

Civ. P. 23(e) for receiving final approval. Indeed, the overwhelmingly positive response by the

Settlement Class Members confirms that granting final approval is warranted. As such, Plaintiffs

respectfully request that the Court grant Plaintiffs’ motion for final approval of the settlement. A

proposed order granting final approval will be submitted in advance of the final fairness hearing.

 II.   FACTUAL BACKGROUND

        A. Plaintiffs’ Pre-Litigation Investigation and History of the Litigation

       This class action lawsuit was commenced on August 4, 2020. (ECF No. 1.) It was filed

after an extensive pre-suit investigation by Plaintiffs’ counsel that began in approximately May

2019. This investigation included, inter alia, review of NHTSA documents, investigation and

review of owner complaints to both NHTSA and other online forums, documents provided by class

members, interviews with class members, and a technical analysis regarding the root cause of the

alleged defect.

       In addition to Dack, three similar putative class actions were filed in other courts

throughout the country: Sharma, et al. v. Volkswagen AG, et al., Case No. 4:20-cv-02394-JST

(N.D. Cal.), May, et al. v. Volkswagen Group of America, Inc., et al., Case No. 2:20-cv-09708




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(MCA) (MAH) (D.N.J.), and Pieras v. Volkswagen Group of America, Inc., Case No. 2:20-cv-

18543-MCA-MAH (D.N.J.)(which was consolidated into May). The Settlement resolves all of

them.1

                 1.     The Dack Litigation

         On November 16, 2020, Defendant Volkswagen Group of America, Inc. (“VWGoA”) filed

a motion to dismiss Plaintiffs’ Complaint in the instant matter. (ECF No. 17.) Plaintiffs filed their

opposition brief on December 18, 2020, (ECF No. 28), and Defendant filed its reply on January

18, 2021. (ECF No. 30.) On September 30, 2021, the Court issued an Order granting in part and

denying in part Defendant’s motion. (ECF No. 42.) The Court dismissed all claims by nonresident

plaintiffs (Matthew Dorton, Larry Pike, Tony Carrillo, Chris Cates, Roger Doyle, Jacob Miller,

Sarah Norris Barlow, Brandon Barlow, Chad Ritterbach, Johnathan Jones, Mark Pulver and

Ashley Pulver)2, as well as the breach of implied warranty claim under Missouri law and the breach

of express warranty claims. (Id.)

                 2.     The Sharma Litigation

         In the meantime, VWGoA filed a motion to dismiss on July 3, 2020, in the Sharma matter.

(Sharma ECF Nos. 34 and 42.) The Sharma Plaintiffs filed an amended complaint on July 31,

2020 (Sharma ECF No. 47.) Defendants filed a motion to dismiss the first amended complaint on

September 4, 2020. (Sharma ECF Nos. 54 and 59.) The Sharma court granted the motions with

leave to amend on March 9, 2021. (Sharma ECF No. 80.) The Sharma Plaintiffs filed their Second

Amended Complaint on April 8, 2021 (Sharma ECF No. 84.) Thereafter, on June 16, 2021, the

Sharma Plaintiffs voluntarily dismissed defendants Robert Bosch GmbH and Robert Bosch LLC.



1
  Pieras was consolidated with May, and Sharma and May were subsequently voluntarily
dismissed.
2
  The remaining Plaintiffs are Emily Dack and Kim Hensley-Hauser.


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On June 4, 2021, Audi AG, Volkswagen AG and and VWGoA filed motions to dismiss the Second

Amended Complaint. (Sharma ECF No. 99.) On January 21, 2022, the Sharma Court issued an

order dismissing defendant Volkswagen AG. (Sharma ECF No. 119.) On April 4, 2022, Audi AG

and VWGoA answered the Second Amended Complaint. (Sharma ECF Nos. 129 and 130.) On

April 18, 2023, the Sharma Plaintiffs voluntarily dismissed their claims against the remaining

defendants without prejudice. (Sharma ECF No. 146.)

       On February 17, 2021, VWGoA moved to dismiss the consolidated complaint in May.

(May ECF No. 32.). Before the Court decided that motion to dismiss, the matter was voluntarily

discontinued on November 2, 2023 based on the instant settlement. (May ECF No. 63.)

                3.     Discovery

       Discovery in the Sharma matter commenced in August of 2020, wherein VWGoA

produced approximately 41,553 pages, which were reviewed by counsel. Around this time, the

Sharma matter was also voluntarily dismissed, and both the Sharma and May matters’ Plaintiffs

were added as Plaintiffs in this action. In addition to the discovery listed above in Sharma, the

Dack matter included additional written discovery as well as review of assembled materials

regarding the AEB systems.3 In Dack almost 29,000 pages of discovery were reviewed. As noted

above, Plaintiffs’ counsel also dissected and analyzed the AEB systems independently. In addition,

Plaintiffs’ counsel interviewed multiple non-party witnesses and responded to inquiries from

putative class members.

        B. Settlement Negotiations



3
 The AEB system means the automatic emergency braking system. For Volkswagen Settlement
Class Vehicles, AEB was/is a feature of, and/or included in, “Front Assist.” For Audi Settlement
Class Vehicles, AEB was/is a feature of, and/or included in, “Audi Braking Guard,” “Pre Sense
Front,” “Audi Pre Sense City,” and/or “Turn Assist,” depending upon the year and model of the
vehicle. (Settlement Agreement ¶I.K,fn. 1.)


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        From the outset of the litigation, as part of their duties under Fed. R. Civ. P. 26, Counsel

for the parties in all four cases discussed the possibility of resolving this litigation. This eventually

resulted in several meetings between counsel and extensive arms-length negotiations over a

substantial period of time including participation in the Western District of Missouri’s Mediation

and Assessment Program before private mediator Bradley A. Winters, Esq. of JAMS on December

29, 2022, ultimately resulting in a class-wide settlement. The terms of this settlement have since

been memorialized in the Settlement Agreement. All of the terms of the Settlement Agreement

are the result of extensive, adversarial, and arm’s-length negotiations between experienced counsel

for both sides. Significantly, before the Settlement Agreement was executed, Plaintiffs’ counsel

received confirmatory discovery from Defendants to confirm that the proposed settlement class

relief is fair, reasonable, and adequate.

         C. Terms of the Settlement Agreement

        If finally approved, the settlement will provide the following substantial benefits to the

following Settlement Class:

                All persons and entities who purchased or leased a Settlement Class
                Vehicle, as defined in Section I.X. of [the Settlement] Agreement,
                in the United States of America and Puerto Rico.4

        The Settlement Class provides the following substantial benefits: (1) an extension of the

New Vehicle Limited Warranty (“NVLW”) by twelve (12) months or twelve thousand (12,000)

miles, whichever comes first, from the expiration of the Settlement Class Vehicle’s original




4
 A full list of Settlement Class Vehicles is set forth in Paragraph 3 of the Court’s Order Granting
Preliminary Approval of Class Action Settlement. (ECF No. 77). Class members can confirm
whether their vehicles are included by checking their VINs on the VIN lookup portal on the
settlement website.


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NVLW, for 75% of the cost of a Covered Repair5 by an authorized VW dealer (for VW Settlement

Class Vehicles) or Audi dealer (for Audi Settlement Class Vehicles); (2) reimbursement for 75%

of the cost of past paid Covered Repairs performed prior to the Notice Date and within twelve (12)

months or twelve thousand (12,000) miles from the expiration of the Settlement Class Vehicle’s

NVLW period; and (3) additional information and education regarding the AEB system in

Settlement Class vehicles. Additionally, if a Settlement Class Vehicle’s NVLW has already

expired as of the Notice Date, then the warranty will be extended for six (6) months after the Notice

Date, subject to the same mileage limitation of 12,000 miles beyond the expiration of the original

NVLW’s mileage limitation.

       The informational and educational materials to be provided to Settlement Class Members

will be made available on the VW and Audi web pages and owner mobile apps, and will describe

the functions and limitations of the various AEB systems installed in the VW and Audi Settlement

Class Vehicles, including certain situations that can affect AEB functionality.

        D. Notice to the Settlement Class

       In accordance with the Preliminary Approval Order and Settlement Agreement, notice was

disseminated to the Class as described below:

       U.S. Mail: On May 15, 2024, The Claims Administrator mailed Class Notice together with

the Claim Form via first class mail to the current or last known address of all reasonably

identifiable Settlement Class Members. The Claims Administrator obtained the names and current

or last known addresses of Settlement Class Members from Polk/IHS Markit based upon the VINs



5
  A Covered Repair is defined as “repair or replacement (parts and labor) of a diagnosed and
confirmed malfunction or failure of a Settlement Class Vehicle’s AEB system that resulted from
failure or malfunction of the AEB system’s control unit, camera(s), radar, LIDAR, and/or
sensor(s) which enable automatic emergency braking functionality.” (Settlement Agreement
¶I.K.)


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of Settlement Class Vehicles that were provided by VWGoA. Through this process, Class Notice

was timely mailed to 4,975,300 identified Settlement Class Members. See Declaration of Bonner

C. Walsh, Ex. A (Decl. of Justin Stinehart).

       Website: The Claims Administrator also implemented a Settlement website containing: (i)

the instructions and deadlines for any objections, requests for exclusion, and submission of Claims

for Reimbursement by mail, (ii) instructions on how to contact the Claims Administrator, Class

Counsel, and Defense Counsel for assistance; (iii) a copy of the Claim Form, Class Notice, the

Settlement Agreement, the Preliminary Approval Order, the motion for Final Approval, the Class

Counsel Fee and Expenses Application, copies of pleadings, and other pertinent orders and

documents; and (iv) the deadlines for any objections, requests for exclusion, mailing of claims,

and the date, time, and location of the final fairness hearing. The Settlement website also includes

answers to frequently asked questions and information on how to contact the Claim Administrator

for more information and to ask questions.

        E. The Preliminary Approval Order, Preliminary Class Certification, and the

            Response by Settlement Class Members

       The Court issued an order granting Preliminary Approval on January 17, 2024, which

authorized the dissemination of notice to the class, and set a final approval hearing for July 17,

2024. (ECF No. 77.) Class members had until June 17, 2024 to mail requests for exclusion or to

file any objections to the Settlement. (Id. ¶ 20.)

       In the Court’s Order Granting Plaintiffs’ Motion for Preliminary Approval of Class Action

Settlement, the Court analyzed each class certification element under Rule 23(a) and (b)(3) and

concluded that the Settlement meets all of the criteria for preliminary approval and the Settlement

Class should be certified for settlement purposes. (ECF No. 77, ¶ 7.) Nothing has changed since




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the Court’s January 17 Order to warrant that the Settlement not receive final approval. Class

Counsel thus respectfully submits that the Court should reaffirm its certification of the Settlement

Class and grant final approval of the settlement.

       As this Court determined in granting preliminary approval, the Rule 23(a) requirements

are clearly satisfied for settlement purposes. (ECF 77 ¶7.) There are approximately 3,328,395

Settlement Class Vehicles (Class Notices were mailed to 4,975,300 class members since many

vehicles have had more than one owner), satisfying numerosity. Commonality is satisfied as there

are common questions of law and fact, such as whether the Settlement Class Vehicles’ AEB

systems suffer from an alleged design defect and whether Defendant had a duty to and failed to

disclose it to consumers. Typicality is satisfied because the claims of the Settlement Class arise

out of the same alleged conduct related to the design, manufacture, and distribution of vehicles

with the allegedly defective AEB systems.           Further, the named Plaintiffs are adequate

representatives because they each purchased or leased a Settlement Class Vehicle subject to the

Settlement Agreement and allegedly sustained damages based on the same alleged defect, and

have no conflicts with the Settlement Class. Class Counsel are adequate as they have invested

considerable time and resources into the prosecution of this action, they have a wealth of

experience in litigating class actions, and they were able to negotiate an outstanding settlement

for the Settlement Class.

       Similarly, as the Court determined, the Rule 23(b)(3) requirements are also satisfied for

settlement purposes. (ECF 77 ¶7.) The common questions of law and fact identified above

predominate over any questions that may affect individual members of the Settlement Class, such

as the amount of damages suffered by individual Settlement Class members. Further, the

Settlement Class is “sufficiently cohesive” because the common questions are both subject to




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generalized proof and common to all class members. Amchem Prods., Inc. v. Windsor, 521 U.S.

591, 620 (1997). Superiority is satisfied as “the class action is the best available method for

resolving the controversy.” Cullan & Cullan LLC v. M-Qube, Inc., No. 8:13CV172, 2016 WL

5394684, at *6 (D. Neb. Sept. 27, 2016). The Settlement Agreement provides members of the

Settlement Class with prompt and substantial benefits without the significant risks and delays of

further litigation and contains well-defined administrative procedures to ensure due process. The

Settlement also would relieve the substantial judicial burdens that would be caused by duplicative

litigation in thousands of individualized trials against Defendant.

III.   ARGUMENT

        A. The Settlement is Fair, Reasonable, and Adequate

       In order to grant final approval to the proposed class action settlement, the Court must

hold a hearing and find the settlement “fair, reasonable and adequate.” Fed. R. Civ. P. 23(e)(2).

Additionally, the Eighth Circuit has held that the Court must “ensure that the agreement is not

the product of fraud or collusion and that, taken as a whole, it is fair, adequate, and reasonable to

all concerned. In re Wireless Tel. Fed. Cost Recovery Fees Litig., 396 F.3d 922, 934 (8th Cir.

2005) (citation omitted).

       Preliminarily, settlements enjoy a presumption of fairness. See, e.g., In re Uponor, Inc.

F1807 Plumbing Fittings Prods. Liab. Litig., 716 F.3d 1057, 1063 (8th Cir. 2013) (citing Little

Rock Sch. Dist. v. Pulaski Cnty. Special Sch. Dist. No. 1, 921 F.2d 1371, 1391 (8th Cir. 1990))

(settlement agreements are “presumptively valid”). “This is especially true because the

settlement was reached through mediation with a third-party neutral, and only after substantial

discovery had taken place.” See, e.g., In re Zurn Pex Plumbing Prods. Liab. Litig., MDL

No.1958, 2013 WL 716088, at *6 (D. Minn. Feb. 27, 2013). Class counsel, who are very




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experienced in automotive class action matters, negotiated the settlement only after significant

discovery began, and negotiated at arm’s length with the assistance of Bradley A. Winters, Esq.,

an experienced neutral affiliated with the Western District of Missouri’s Mediation and

Assessment Program. As the Court determined in granting preliminary approval, the proceedings

that occurred before entering the Settlement “afforded counsel the opportunity to adequately

assess the claims and defenses in this Action, the positions, strengths, weaknesses, risks and

benefits to each Party, and as such, to negotiate a Settlement Agreement that is fair, reasonable

and adequate and reflects those considerations.” (ECF 77 ¶8.)

       There are four factors to guide the Court’s inquiry into the fairness, reasonableness, and

adequacy of the settlement: (1) the merits of the plaintiffs’ case weighed against the terms of the

settlement; (2) the defendants’ financial condition; (3) the complexity and expense of further

litigation; and (4) the amount of opposition to the settlement. Marshall v. Nat’l Football League,

787 F.3d 502 (8th Cir. 2015) (citations omitted); In re Uponor, 716 F.3d at 163. “The single most

important factor in determining whether a settlement is fair, reasonable, and adequate is a

balancing of the strength of the plaintiff's case against the terms of the settlement.” Id. (citation

omitted). A district court, in evaluating the strength of the plaintiffs’ case, “need not undertake

the type of detailed investigation that trying the case would involve.” Van Horn v. Trickey, 840

F.2d 604, 607 (8th Cir. 1988); Marshall, 787 F.3d at 518. Each factor will be analyzed below.

                 1.      Balancing the strength of Plaintiffs’ case against the settlement terms

       In negotiating and reaching the Settlement Agreement, Class Counsel were aware of the

difficulties, risks, and uncertainties associated with proving liability and damages. Defendant

would certainly contested whether evidence acquired through documents and testimony showed

pre-sale knowledge by Defendants of a common defect in the automatic emergency braking




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technology, whether the limitations alleged by Plaintiffs regarding the automatic emergency

braking technology constituted a defect, and whether Defendants’ advertisements and promotion

of the automatic emergency braking technology were false or misleading, and whether Plaintiffs

and class members sustained any damages. In addition, Defendant has claimed numerous

significant defenses to this action which could bar completely, if not substantially reduce, all or

many Settlement Class Members’ potential recoveries under the various applicable states’ laws.

These claimed defenses include statutes of limitation, lack of standing, lack of manifestation of

the alleged issue, lack of privity with Defendants under the laws of various states, absence of a

duty to disclose under applicable states’ laws, absence of pre-sale knowledge of any alleged

defect, lack of reliance or causation, “economic loss rule” bars to recovery, lack of recoverable

damages and/or “ascertainable loss,” and many other common law and statutory defenses or other

bars to recovery applicable to particular Settlement Class Members’ claims.

        While Class Counsel believe they can present a strong liability case, the case was not

without risks and any potential success of Plaintiffs’ claims would be uncertain. To that end, in

assessing the Settlement Agreement, the Court should balance the benefits afforded the

Settlement Class, including the immediacy and certainty of a recovery for a definitive Settlement

Class against the risks of continued litigation. Pollard v. Remington Arms Co., 320 F.R.D. 198,

219 (W.D. Mo. 2017) (finding “concrete benefits to potentially millions of individuals who would

not be entitled to benefits absent this settlement” weighed in favor of approving settlement

considering various litigation risks); Huyer v. Wells Fargo & Co., 314 F.R.D. 621, 627 (S.D.

Iowa 2016), aff'd sub nom. Huyer v. Njema, 847 F.3d 934 (8th Cir. 2017), and aff'd sub nom.

Huyer v. Buckley, 849 F.3d 395 (8th Cir. 2017) (“Wells Fargo had credible defenses that could

be accepted by a fact-finder; Plaintiffs’ ability to recover by proceeding to trial was not inevitable.




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The settlement fund ensures that class members will receive an adequate percentage of their

damages and mitigates the risk inherent in taking these legal claims to trial. Thus, this factor

weighs strongly in favor of approving the settlement and finding it to be fair and reasonable.”).

       Furthermore, numerous individual factual and legal issues would likely predominate and

adversely affect the ability to certify a class in the litigation context. These factors include the

different conditions of each Settlement Class Vehicle; the manner in which each vehicle was

driven and maintained; accidents, events, damage to the vehicle and environmental factors that

may impact the operation of the AEB system; individual facts and circumstances of each

Settlement Class Member’s purchase or leasing of, and decision making concerning, his/her

vehicle; what, if anything, each Settlement Class Member may have seen, heard or relied upon

prior to purchase or lease; whether and to what extent any Settlement Class Member experienced

any failure or malfunction of his/her Settlement Class Vehicle’s AEB system; individual

perceptions related to whether any application of the braking system was improper under the

specific driving circumstances present when any Settlement Class Member experienced any such

braking; whether and to what extent any Settlement Class Member can establish any entitlement

to damages or other relief; and myriad other issues individual to each Settlement Class Member.

       In sharp contrast to the risks and uncertainties of further litigation, the settlement provides

the Settlement Class, now, with the precise and very substantial benefits including a warranty

extension for the Class Vehicles, substantial reimbursement for past Covered Repairs performed

prior to the Notice Date, and additional information and education regarding the AEB system in

Settlement Class vehicles. In re Uponor, 716 F.3d at 1063 (observing the settlement terms we

generous and offered the plaintiffs the “only conceivable remedies they could expect”); Jones v.

Casey’s Gen. Stores, Inc., 266 F.R.D. 222, 230 (S.D. Iowa 2009) (approving settlement and




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finding “the amount of compensation to be paid to each class member likely exceeds what any

individual plaintiff might be able to recoup on his or her own”).

         In light of the risk associated with ultimately proving liability on a class-wide basis, this

 factor supports approval of the Settlement Agreement.

                 2.      The Defendant’s financial condition

        Defendants’ financial condition poses no threat to its ability to implement the terms of the

settlement. As such, this factor is neutral. Huyer, 314 F.R.D. at 627 (citing Marshall, 787 F.3d at

512) (finding financial condition neutral where defendant was “financially able to pay the

settlement amount, or continue with the litigation in the event the settlement is not approved”).

                 3.      The complexity and expense of further litigation

        There is no question that “class actions place an enormous burden of costs and expense

upon the parties.” In re Uponor, 716 F.3d at 1063 (citing Schmidt v. Fuller Brush Co., 527 F.2d

532, 535 (8th Cir.1975)). If this case were to proceed without settlement, numerous depositions

and further protracted and expensive fact and expert discovery would need to occur, involving

both Defendant and third parties, in order to litigate the very complex automotive, engineering

and technology issues in this case. The parties would then need to prepare class certification

briefing, expert reports, and file Daubert motions, and the Court would likely need to hold a class

certification and Daubert hearing. In addition, one or both parties would likely move for

summary judgment. Plaintiffs are confident that they could certify one or more classes, but also

recognize that Defendant has numerous defenses to class certification and there is no guarantee that

Plaintiffs could certify or maintain certification of any class, and either side would likely appeal any

class certification decision to the Eighth Circuit. Eventually, the parties would proceed to a




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lengthy trial, and then the post-trial appeal process would begin in earnest. Absent settlement,

any potential resolution to the class would likely take multiple years.

                4.      The amount of opposition to the settlement

       The deadline to object or opt-out of the class action has passed. Of the 4,975,300 Class

Notices mailed, there have been only eight timely filed purported objections6 and 921 timely filed

opt-out requests received by the claims administrator.7 See Declaration of Bonner C. Walsh at 5.

Given the Class size, these objections and opt-outs together represent an approximate microscopic

nearly two one-hundredths of one percent (.0187%) of the Class. “Either way you look at it, the

amount of opposition to the settlement is miniscule.” Pollard, 320 F.R.D. at 220; Jones, 266 F.R.D.

at 230 (noting the absence of objections indicates “overwhelming support by class members” and

“is strong circumstantial evidence supporting the fairness of the Settlement.”). Here, the fact that

there are an infinitesimal number of objections and opt-out requests demonstrates the strength of

the settlement and that the Settlement Class overwhelmingly favors it.

                5.      The agreement is not the product of fraud or collusion

       Last, as this Court has determined, the proposed settlement is not the result of any fraud

or collusion between the parties, but was “reached as a result of intensive, arm’s-length

negotiations of vigorously disputed claims.” (ECF 88 ¶9.) The Settlement Agreement provides



6
  The term “purported” is used here, as several of the claimed objections have procedural defects
and should be overruled on that basis alone, or appear to be comments rather than objections.
For a full discussion of objections and non-objection class member comments, see section III.C,
below.
7
  Opt-outs have been transmitted to the Court, Plaintiff’s Counsel, Defense Counsel, and the
claims administrator. The parties are working to confirm a complete list of timely and proper
requests, and will provide that to the Court with a Proposed Final Approval order prior to the
Final Fairness hearing. For this memorandum, the “working number” includes all requests that
have been received by the claims administrator, whether they comply with the requirements for a
proper opt-out or not. This number will change as the opt-outs are fully reviewed in advance of
the final fairness hearing.


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substantial benefits to the Settlement Class. The settlement was negotiated at arms’ length by

counsel experienced in class action litigation. Moreover, Settlement negotiations were overseen

in mediation by experienced neutral Bradley A. Winters, Esq. through the Western District of

Missouri’s Mediation and Assessment Program.

        B. The Notice Provided to the Class Satisfied Due Process

        In accordance with the Court’s Order preliminarily approving the Settlement, the Claims

Administrator, Rust, followed the Notice Plan and mailed the Court-approved Class Notice of the

proposed settlement by first class mail to the current or last known address of all reasonably

identifiable Settlement Class Members on May 15, 2024. The Settlement website and toll-free

telephone assistance line went live the same date. The Claims Administrator obtained the names

and current or last known addresses of Settlement Class Vehicle owners and lessees from Polk/IHS

Markit or an equivalent company (such as Experian) based upon the VINs of Settlement Class

Vehicles provided by VWGoA. In addition, the Claims Administrator implemented a Settlement

website containing: (i) details about the lawsuit, the Settlement, its benefits, and the Settlement

Class Members’ legal rights and options, including objecting or requesting to be excluded from

the Settlement and/or not doing anything; (ii) instructions on how to submit a Claim for

Reimbursement by mail, (iii) instructions on how to contact the Claims Administrator, Class

Counsel, and Defense Counsel for assistance; (iv) copies of the Claim Form, Class Notice,

Settlement Agreement, Preliminary Approval Order, Motion for Final Approval, Class Counsel

Fee and Expenses Application, and other pertinent orders and documents; and (v) the deadlines

for any objections, requests for exclusion, mailing of claims, and the date, time, and location of

the final fairness hearing.




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        As the Court determined in granting Preliminary Approval, this Notice Plan

unquestionably meets the due process requirements of Fed. R. Civ. P. 23 (ECF 77 ¶10), which

calls for “the best notice practicable under the circumstances, including individual notice to all

members who can be identified through reasonable effort.” Eisen v. Carlisle & Jacquelin, 417 U.S.

156, 173 (1974) (emphasis omitted). See also In re Ikon Office Solutions, Inc., 194 F.R.D. 166, 174

(E.D. Pa. 2000) (“In order to satisfy due process, notice to class members must be ‘reasonably

calculated under all the circumstances, to apprise interested parties of the pendency of the action

and afford them an opportunity to present their objections.’”) (quoting Mullane v. Central Hanover

Bank & Trust Co., 339 U.S. 306, 314 (1950)). In this regard, potential Settlement Class Members

have been (i) provided with direct notice of the Settlement Agreement including its substantial

benefits, release of claims, and other terms; (ii) fully informed of their rights and obligations under

the Settlement Agreement including the right to object to or opt out of the Settlement; and (iii)

provided with the resources to ask questions and, to the extent necessary, receive assistance in

submitting claim forms.

        C. The Eight Purported Objections Should be Overruled

       Each purported objection and the lone class member comment are discussed in detail

below. Plaintiffs’ counsel will be prepared to address these objections at the Final Approval

hearing on July 17, 2024. As discussed below, two of the objectors have withdrawn their

objections after learning that they had based their objections upon incorrect information. However,

Plaintiffs would note that none of the six (6) remaining objections should sway the Court into

denying the valuable benefits afforded by the Class Settlement to the other 4.975 million class

members.

                 1.      Nancy Diemert Anderson




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       As a preliminary matter, Ms. Anderson’s objection (ECF No. 91) fails to meet the

requirements for objections set forth in the Court’s Order Granting Preliminary Approval of Class

Action Settlement (ECF No. 77, p. 7) and the Notice of Proposed Class Action Settlement

(hereinafter “Notice”) (ECF No. 73-1, p. 56), which Notice Ms. Anderson admits that she received

(ECF No. 91, ¶3). Specifically, Ms. Anderson has failed to: (1) provide the complete VIN for her

vehicle8, (2) provide proof that Ms. Anderson has owned or leased the Settlement Class Vehicle,

(3) provide the name, address and telephone number of any counsel representing her, (4) state

whether she intends to appear at the Final Fairness Hearing, and (5) list all other objections

submitted by her or her counsel to any class action settlement within the past five years or state

that there have been no such objections. Due to these deficiencies, counsel is unable to determine

whether Ms. Anderson is a Class Member. On this basis alone, Ms. Anderson’s objection should

be overruled.

       Turning to the merits of her objection, Ms. Anderson argues that Notice is deficient in two

ways. She claims that she is unable to determine from the Notice “what is the basis for the lawsuit”

(ECF No. 91, ¶4(d)), and that the class is inadequately defined (ECF No. 91, ¶11).

       Regarding the basis of the lawsuit, Ms. Anderson claims that the Notice “fails to explain

what the ‘AEB systems’ are” (Id. at ¶4(d).) However, “AEB” is defined as “automatic emergency

braking” in the very first paragraph of the Notice, the basis for the claims are described on the first

page of the Notice, and AEB systems are defined clearly in the Settlement Agreement. (ECF 73-

1, p. 1, 9, 50) Despite her asserted inability to determine what the alleged defects in the AEB

systems are, Ms. Anderson goes on to describe her experiences as “similar to the experiences of




8
 The purported VIN provided in Ms. Anderson’s objection is 14 characters long, whereas a
complete VIN is comprised of 17 characters.


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the named Plaintiffs described in the Complaint in this action” (Id. at ¶ 5).9 Ms. Anderson also

cites to the Settlement Agreement in her objection, indicating that she found and read that as well.

(Id. at ¶10.) Ms. Anderson’s claims that the Notice fails to “identify what this lawsuit is all about”

are thus dispelled, as she was able determine that she had similar experiences to those described

in the Complaint based on information contained in or referenced by the Notice.

       Ms. Anderson also claims that the Settlement Class is inadequately defined (ECF No. 91,

¶11.) However, she admits that she looked up the VIN of her vehicle and determined that it was a

Settlement Class Vehicle (Id. at ¶4(c)), which would make her a Settlement Class Member (see id.

at ¶4(a)). The Notice, together with the settlement website, therefore provide enough information

for potential Settlement Class Members to determine whether they own a Settlement Class

Vehicle.

       The Court has already approved the form and content of the Notice and determined that

the Notice Plan “satisfies Rule 23, due process, and constitutes the best notice practicable under

the circumstances.” (ECF 77 at ¶ 10.) Ms. Anderson’s objections to the Notice should be overruled.

       Ms. Anderson goes on to allege that her dealership has no knowledge of the settlement or

the education program. (ECF 91 at ¶¶ 8-9.) While someone at the dealership may have told this

to Ms. Anderson, it is not accurate. See Declaration of Bonner C. Walsh at 4.

       Finally, Ms. Anderson’s sole objection to the relief provided by the settlement is that the

extended warranty only applies to “confirmed” AEB defects. (ECF No. 91 at ¶¶ 10, 14.) She

complains that “confirmed” is not defined in the Class Notice or Settlement Agreement and argues

that “Without a definition or discussion of the term ‘confirmed,’ there is no way to enforce this



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 The web address of the settlement website, aebsettlement.com, is printed on every page of the
Notice. Prominently linked on the settlement website are “Important Documents”, including the
Class Action Complaint and Settlement Agreement.


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vital term.” (Id. at ¶ 10.) Ms. Anderson’s concern here is misplaced. “Confirmed” is not a term

of art and, absent defining language in the Settlement Agreement, should be construed as to its

ordinary meaning and usage. It is common sense that before a malfunction or failure can be

addressed under an extended warranty (or any warranty at all for that matter), it must be confirmed

to exist and be related to the warranted AEB system. The Settlement also makes it clear that the

warranty extension repairs will be performed by authorized Audi or Volkswagen dealers,

depending on the brand of the vehicle at issue. It is clear that the authorized dealer personnel will

confirm the existence of an AEB failure or malfunction prior to completing any repair. This

requirement for confirmation does not diminish the value of the extended warranty.               Ms.

Anderson’s objection should thus be overruled on this point as well.

                2.      Brian R. Kearney and Gregory Francis Lungstrum.

       Mr. Kearney objected to the settlement on the grounds that the extended warranty period

may expire in the event that parts are unavailable for an extended period of time, denying

Settlement Class Members access to warranted repairs. (ECF No. 92.) While this hypothetical

concern is understandable, it is misplaced. If a vehicle is diagnosed to need a repair within the

warranty extension period, the repair will be completed pursuant to the warranty even if some

delay in parts availability results in the repair itself being completed outside of the extended

warranty period. See Declaration of Bonner C. Walsh at 6.

       Similar to Mr. Kearney, Mr. Lungstrum objected to the settlement because he was told by

an Audi dealership that the parts needed to fix his AEB system were “no longer being

manufactured and/or available.” (ECF No. 95 at ¶4.) Irrespective of the deficiencies of Mr.




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Kearney’s10 and Mr. Lungstrum’s11 original objections, upon learning that the part in question is

in fact available, both Mr. Lungstrum and Mr. Kearney have withdrawn their objections. (See

Walsh Decl. Exs. B and C.)

                 3.      Eve Burton

        Ms. Burton’s objection (ECF No. 96) is deficient in the following ways: (1) it fails to list

the name, address, and telephone number of counsel representing the objector, if Ms. Burton is

represented, and (2) it fails to state whether Ms. Burton has objected to any class action settlements

within the last five years.

        Ms. Burton’s objection is based on several inaccuracies. First, she states that “[t]his does

not appear to be an arms-length agreement, but instead feels like a self-interested deal.” (Id. at 1.)

However, Ms. Burton provides no basis for this statement. In contrast, the Court has preliminarily

found that “the Settlement Agreement has been reached as a result of intensive, arm’s-length

negotiations of vigorously disputed claims, including through the use and assistance of an

experienced third-party neutral mediator, and that the proposed Settlement is not the result of any

collusion.” (ECF No. 77 at 4.) Ms. Burton next alleges that “there is no evidence that discovery

took place.” (ECF 96 at 1.) Ms. Burton does not provide any support for this statement either. In




10
   Mr. Kearney’s objection (ECF No. 92) is deficient in the following ways: (1) it fails to list the
name, address, and telephone number of counsel representing the objector, if Mr. Kearney is
represented, (2) it fails to state whether Mr. Kearney intends to appear at the Final Fairness
hearing, and (3) it fails to state whether Mr. Kearney has objected to any class action settlements
within the last five years.
11
   Mr. Lungstrum’s objection (ECF No. 95) is deficient in the following ways: (1) it fails to
include the objector’s address11 and telephone number, (2) it fails to list the name, address, and
telephone number of counsel representing the objector, if Mr. Lungstrum is represented, (3) it
fails to state whether Mr. Lungstrum intends to appear at the Final Fairness hearing, and (4) it
fails to state whether Mr. Lungstrum has objected to any class action settlements within the last
five years.



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fact, over 70,000 pages of discovery were produced and reviewed in the combined cases. (See

Plaintiff’s Memorandum of Law in Support of Their Motion for Preliminary Approval of Class

Action Settlement, ECF No. 72 at 7, 8 (stating that 41,553 pages were produced in Sharma and

over 29,000 pages in Dack).) Again, the Court has preliminarily found that “[t]he proceedings that

occurred before the Parties entered into the Settlement Agreement afforded counsel the

opportunity to adequately assess the claims and defenses in the Action, the positions, strengths,

weaknesses, risks, and benefits to each Party, and as such, to negotiate a Settlement Agreement

that is fair, reasonable and adequate and reflects those considerations.” (ECF No. 77 at 3.) Ms.

Burton’s unfounded opinion of the adequacy of discovery and negotiations does nothing to change

the underlying facts which the Court recognized in granting Preliminary Approval of the

settlement.

       Ms. Burton also objects that the extended warranty only covers 75% of repairs. (ECF No.

96 at 2.) She states, “[i]f there was no settlement, if you had an issue with the AEB system, you

could file a claim against Volkswagen and have all of your costs covered, as well as potentially

other damages associated with potential fraud and willful conduct.” This is not true, as a lawsuit

filed for a malfunction occurring after the expiration of the New Vehicle Limited Warranty would

require the class member to retain their own attorney and pay court costs and attorney fees, along

with time consuming discovery, and there is no guarantee that such an action would be successful.

The extended warranty provided by the settlement thus puts Class Members in a substantially

better position than they would be in without the settlement, and Ms. Burton’s decision to object

instead of opt-out and retain her own attorney further demonstrates that the benefits offered by the

settlement are superior to individual lawsuits.

       Ms. Burton’s final objection is that the settlement benefits are illusory for Class Members




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who have purchased an extended warranty from a third party. This statement ignores the other

benefits provided by the settlement, namely reimbursement for past repairs and the education

program. Additionally, it is not a requirement of class action settlements that all Class Members

benefit equally from the settlement. See Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1152 (8th Cir.

1999) (affirming lower court’s approval of settlement where objectors argued the settlement led

“to disproportionate results” among class members) (citing Holmes v. Continental Can Co., 706

F.2d 1144, 1148 (11th Cir.1983) (“there is no rule that settlements [must] benefit all class members

equally”); accord Yim v. Carey Limousine NY, Inc., 2016 WL 1389598, at *5 (E.D.N.Y. Apr. 7,

2016) (“a class need not provide the exact same settlement to every class member in order for a

court to approve the settlement.”). Ms. Burton’s third-party extended warranty may render the

extended warranty under the settlement less valuable to her in particular, but that does not make

the settlement inherently unfair.

       For these reasons, Ms. Burton’s objection should be overruled.

                4.      Jamie Jefferson and LeeAnn Boemer

       A letter was received from each of Jamie Jefferson and LeeAnn Boemer, that mention both

opting out and objecting. For completeness, these letters are attached as Exhibits D (Jefferson)

and E (Boemer) to the Declaration of Bonner C. Walsh. One cannot both opt out and object to a

settlement, instead one or the other must be chosen.

       If an absent class member (or even a class representative) desires to affect
       the settlement by filing objections, then the objector must abide the result
       and be bound by the consequences. If the settlement is unpalatable, the class
       member may opt out and avoid the binding effect of the settlement
       judgment. To allow the class member to have it both ways, however, would
       countenance the practice of influencing litigation—or attempting to do so—
       in which the class member really has no stake. That result is unacceptable.

Olden v. LaFarge Corp., 472 F. Supp. 2d 922, 931 (E.D. Mich. 2007) (internal citation omitted).




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       Jefferson states her request for exclusion “unambiguously” and thus will not be addressed

as an objection, though it is included in the section for completeness. See Declaration of Bonner

C. Walsh, Exhibit D, p.2. Boemer is less clear, and class counsel has a request out to Boemer

seeking clarification as to whether she intended to opt out or object. See Declaration of Bonner C.

Walsh at 7. Even if these were considered objections, both are without merit. Ms. Boemer merely

states that she believes the settlement is unfair because she thinks all Settlement Class Members

should not have to pay for AEB repairs. Ms. Jefferson complains about her individual

circumstance, in which no Volkswagen dealer has been able to diagnose any problem with her

AEB system. Both of these objections should be overruled.

                5.      Lavay Myles

       A letter outlining the Objections of Lavay Myles was received by class counsel. It is

attached as Exhibit F to the Declaration of Bonner C. Walsh. Ms. Myles’ objection is deficient in

the following ways: (1) it fails to list the name, address, and telephone number of counsel

representing the objector, if Ms. Myles is represented, (2) it fails to state whether Ms. Myles

intends to appear at the Final Fairness hearing, and (3) it fails to state whether Ms. Myles has

objected to any class action settlements within the last five years; and (4) Ms. Myles failed to file

the objection with the Court.

       Ms. Myles brings up dealer concerns that are in line with those already addressed in the

above objections so are not rehashed here. However, she also brings up two “objections” that are

really proposed modifications of the settlement agreement. She would like to see the settlement

expanded to cover all “possible future malfunctions related to this issue” with no limitation on

time and wants to see all possible vehicle accidents covered if related to the AEB system. See

Declaration of Bonner C. Walsh, Ex. F. While not the main focus of their objections, other




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objectors sought additional relief as well. For example, Burton (ECF No. 96) wanted 100% of the

repairs under the extended warranty covered, and Kearney (ECR No. 92) wanted to toll the

warranty period for unavailable parts. However, none of these terms are a part of the settlement

before the Court.

       Although a trial court must consider the terms of a class action settlement to the extent

necessary to protect the interests of the class, “[j]udges should not substitute their own judgment

as to optimal settlement terms for the judgment of the litigants and their counsel.” Petrovic v.

Amoco Oil Co., 200 F.3d 1140, 1148-49 (8th Cir. 1999) (citing Armstrong v. Board of School

Directors, 616 F.2d 305, 315 (7th Cir. 1980), overruled on different grounds, Felzen v.

Andreas, 134 F.3d 873, 875 (7th Cir. 1998)). “A proposed settlement is not a buffet of individual

provisions from which the Court can pick and choose.” Rouse v. Language Line Servs., 4:22-cv-

0204-DGK, at *2 (W.D. Mo. Nov. 1, 2023) (citing Dennis v. Kellogg Co., 697 F.3d 858, 868 (9th

Cir. 2012) (holding a “settlement must stand or fall in its entirety.”)

       For these reasons, Ms. Myles’ objection should be overruled.

                 6.     Comment from Karen Riggins

       Ms. Riggins has not objected to the settlement – and is not opposed to the settlement – but

submitted a comment suggesting that the extended warranty be indefinite and cover 100% of repair

expenses. (ECF No. 97)

       The possibility that a hypothetical settlement could provide more relief is not a basis to

reject a settlement that is fair, reasonable, and adequate, and that was achieved through adversarial

litigation and arm’s length negotiations. “As courts routinely recognize, a settlement is a product

of compromise and the fact that a settlement provides only a portion of the potential recovery does

not make such settlement unfair, unreasonable or inadequate.” Keil v. McCoy, 862 F.3d 685, 696




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(8th Cir. 2017) (internal citation omitted).

       Accordingly, Plaintiffs requests that the Court overrule these objections and grant final

approval to the Settlement.

IV.    CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court certify the class

 for purposes of effectuating the settlement, approve the settlement as fair, reasonable and

 adequate, overrule the objections received, and dismiss this action with prejudice.



Dated: June 27, 2024                           Respectfully Submitted,


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                             Class Counsel




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                                 CERTIFICATE OF SERVICE


       I hereby certify that on June 27, 2024, a copy of the foregoing document was

electronically filed through the ECF system and will be sent electronically to all persons

identified on the Notice of Electronic Filing.




Dated: June 27, 2024                             /s/ Bonner C. Walsh




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